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                                                                                                                                       ❑ Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



~. Debtor's name                         Reminqton Outdoor Company Inc.


z. All other names debtor used           Freedom Group, Inc.
   in the last 8 years                   American Heritage Arms Inc
                                         American Heritage Arms LLC
   Include any assumed names,
   trade names, and doing business
   as names



s. Debtor's federal Employer             2 6- 0 1                7 4 4 9 1
   Identification Number(EIN)



a. Debtor's address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                      of business

                                         870 Remington Drive                                           870 Remington Drive
                                         Number         Street                                        Number      Street

                                                                                                       P.O. Box 1776
                                                                                                      r.v.tsox

                                          Madison                          NC      27025                Madsion                    NC         27025
                                         City                             State     ZAP Code          City                         State      ZIP Code

                                                                                                      location of principal assets, if different from
                                                                                                      principal place of business
                                          Rockingham County
                                         County
                                                                                                       Number      Street




                                                                                                       City                        State          ZIP Code



s. Debtor's website (URL)                See attached list
    __   _      _.    __.         ____
                                                Corporation (including limited Liability Company (LLC) and Limited Liability Partnership (LLP))
s. Type of debtor
                                         ❑ Partnership (excluding ALP)
                                         ❑ Other. Specify:



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pebtor         Remington Outdoor Company, ~IIC.                                                 Case number
              Name


                                       A. Check one:
~. Describe debtor's business
                                       ❑ Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
                                       ❑ Single Asset Reai Estate (as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                       B. Check all that apply:

                                       ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                       ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                          http~//www.naics.com/search/ .

                                           3      3    2        9

a. Under which chapter of the          - Check one:
   Bankruptcy Code is the
                                       ❑Chapter 7
   debtor filing?
                                       ❑ Chapter 9
                                       ~I Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).

                                                           I~ A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 1'I U.S.C. § '1926(b).

                                                              ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (O~cial Form 201 A) with this form.

                                                              ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                       ❑ Chapter 12

 s. Were prior bankruptcy cases        ~ No
    filed by or against the debtor
                                        ❑Yes. District                                   when                      Case number                             _
    within the last 8 years?                                                                    MM / DD / YYYY
     If more than 2 cases, attach a                                                      When                      Case number                             _
                                                   District
     SepGrate list.                                                                             MM / DD / YYYY

 ~o. Are any bankruptcy cases           ❑ No
     pending or being filed by a
                                        ou Yes. Debtor See attached ~ISt                                         _Relationship
     business partner or an
     affiliate of the debtor?                      District                                                        When
                                                                                                                                 rvuvi   ~   vv   i,ii~
     List ail cases. If more than 1,
     attach a separate Iist.                       Case number, if known


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Debtor             Remington Outdoor Company, IfIC.                                                             Case number iii
                  Name




~~. Why is the case filed in this                Check all that apply:
    district?
                                                 ~I Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 980 days than in any other
                                                    district.

                                                 ~ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in Phis district.


~2. Does the debtor own or have     f,~( No
    possession of any real          ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property .
    that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
    attention?
                                            ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                               What is the hazard?

                                                           ❑ It needs to be physically secured or protected from the weather.

                                                            ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                              attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                              assets or other options).

                                                            ❑ Other



                                                            Where is the properly?,
                                                                                                     Number   Street



                                                                                                     City                                          State      ZIP Code


                                                            is the property insured?
                                                              No
                                                            ❑ Yes. Insurance agency _

                                                                       Contact name

                                                                       Phone


                                  _..
                                                              _ __
                Statistical and administrative information



 ~s. Debtor's estimation of                       Check one:
     available funds                             [~( Funds will be available for distribution to unsecured creditors.
                                                 ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                                 (I~    1-49                                  ❑ 1,000-5,000                                  ❑ 25,001-50,000
 ~a. Estimated number of                         ❑      50-99                                 ❑ 5,001-10,000                                 ❑ 50,001-100,000
     Creditors                                   ❑                                            ❑ 10,001-25,000                                ❑More than 100,000
                                                        100-199
                                                 ❑      200-999
  __......__.__... ... ...._...   ___     _.._               _._w__.    _...._........ ......__...__._.._... ._.......            _.....,,
                                                       ._
                                                  ❑    $0-$50,000                             ❑ $1,000,001 $10 million                       ❑ $500,000,001-$1 billion
 15. Estimated assets                             ❑    $50,001-$100,000                       ❑ $10,000,001-$50 million                      ❑ $1,000,000.001-$10 billion
                                                  ❑    $100,001-$500,000                      ❑ $50,000,001-$100 million                     ❑ $10,000,000,001-$50 billion
                                                  ❑    $500,001-$1 million                    ~ $100,000,001-$500 million                    ❑More than $50 billion




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                                                                                                                                                                          i
 Debtor         g~[j'1_~YlgfOtl OUtC~OQC~Q~~~flV ItIC,.                             .~~                  Casenumbar~:~zm,~,,q
                Name



                                           ~ $0-~5Q,000                              ❑ ~w1,400,001-S10 mlllior~                     ~ ~500,000,~~i-~1 billion
 16. Estimated liabilities
                                           ~ $50,001-5100,000                        ~ S10,000,CU1-S50 million                      ~ S1,C00,000,001-~40 billion
                                           ~ 5100,001-8500,000                       0 550,000,001- 100 mil(icn                     0 $10,000,400,OU1-SSO pillion
                                           ~ 5500,001-~1 million                     ~ ~t00,000,00t-$500 million                    O More than $5U billion



             Reques# fqr R~liei, Declaration, and Signatures


 WARNING -- E3ankruptcy fraud is a serious crime.. Making a false statement in connection with a bankruptcy case
                                                                                                                 can result in -fines up to
            $500,000 or imprisonment #or up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 ~7. ~eciaration and signature of         ;
                                          G The debtor requests relief in accordance with the chapter of IiUe 71, United States
    aufharized representative of                                                                                                Cede, specified in this
    debtor                                  petition.

                                          ~t      i have been authorized to file this petition on beliaif of the debtor.

                                          i~      i nave examined the. information in this petition and have a reasonable belief that the information is true and
                                                  Correct.


                                               declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed nn ~✓!  ~~`                     ~~
                                                             Mtd / Dp!YYYY

                                         ~            ~~~~~~
                                                         ::-~                   ~                               Shen P. Jackson Jr.
                                                Signature of authorized reprosenta ~      o. ab[or
                                                                                                                                                                     —
                                                                                                                Print~tl namo

                                                Tice _Chief.Financial Offie~                    .!~


                                                             ~--- _                                      __                     _ _
~a. Signature of attorney                                                            ~         '~~~(~~                         ~'a J"" ~g
                                                                                                c___!_~y~ Date              _,
                                                 Signature o~          /!or debtor                                          MM ~/ DD 1 YYYY


                                                 Laura Davis Jones, Esg~                       ,,,~„ _                          _           _
                                                Printed name
                                                Pachuiski Stand Ziehl &Jones LLP                                                      ~_                              _
                                                Firm name
                                                 X319 North Market Street 17th Floor
                                                Number         SUeeE
                                                Wilmington                                                    _            DE          99801
                                               City                                                                                                                 .__
                                                                                                                   State              ZtP Code

                                               X02)652-4100                               ~                         Bones a~7pszJiaw.com                 _,_        _
                                               Contacf phone                                                       Email address



                                               Bar nwnher                                                         Stato




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                                 Schedule 1


                           Debtor's Acti~~e URLs

1.    1911r1.com

2.    aaccanu.com

3.    best1911.com

4.    bushmaster.com

5.    dakotaarms.com

6.    designed-to-dominate.com

7.    dpms-gii.com

8.    dpms-gll.com

9.    dpmsinc.com

10.   freedom-group.com

11.   freedomgroupmedia.com

12.   hr1871.com

13.   marlinfirearms.com

14.   nesikafirearms.com

15.   para-usa.com

16.   parkergun.com

17.   remington.com

18.   remingtonairgun.com

19.   remingtoncustom.com

20.   remingtoncutlery.cotn

21.   remingtondefense.com

22.   remingtonfirearmsclassactionsettlement.com
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23.   remingtonle.com

24,   remingtonmilitary.com

25.   remingtonoutdoor.biz

26.   remingtanoutdoor.info

27.   remingtonoutdoor.net

28.   remingtonoutdoorco.biz

29.   remingtonoutdoorco.co

30.   remingtonoutdoorco.com

31.   remingtonoutdoorco.info

32.   remingtonoutdoorco.net

33.   remingtonoutdoorco.org

34.   remingtonoutdoorco.us

35.   remingtonoutdoorcompany.biz

36.   remingtonoutdoorcompany.co

37.   remingtonoutdoorcompany.com

38.   remingtonoutdoorcompany.info

3y.   remingtonoutdoorcompany.net

40.   remingtonoutdoorcompany.org

41.   remingtonoutdoorcompany.us

42.   remingtonrewards.com

43.   thebestl911.com
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                                            Schedule 2


                Peneli~~g ~~nkru~tey Cases Falec~ i~~~ the I?e~ators ia~ this Co~i-t

       On the date hereof, each of the affiliated entities listed below (collectively, the
"Debtors")filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the District of
Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration of these chapter 11 cases for procedural purposes only under the case number
assigned to Remington Outdoor Company,Inc.

        1.     Remington Outdoor Company, Inc.

        2.     FGI Holding Company, LLC

        3.     FGI Operating Company, LLC

        4.     Remington Arms Company, LLC

        5.     Barnes Bullets, LLC

        6.     TMRI,Inc.

        7.     32E Productions, LLC

        8.      Advanced Armament Corp., LLC

        9.      Great Outdoors Holdco, LLC

        10.     RA Brands, L.L.C.

        11.     Outdoor Services, LLC

        12.     FGI Finance, Inc.

        13.     Huntsville Holdings LLC
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                                   RESOLUTIONS
                           OF THE BOARD OF DIRECTORS OF

                        I2EMINGT(~N OUTDnnR COMPANY,INC.

                                         March 20,201

       The members of the board of directors (collectively, the "Directors") of Remington
Outdoor Company, Inc., a corporation organized and existing under the laws of the State of
Delaware (the "Company"), hereby take the following actions and consent to the adoption of the
following preambles and resolutions (these "Resolutions").

       WHEREAS,the Directors of the Company have considered the financial and operational
condition of the Company;

       WHEREAS,such Directors have reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS,such Directors have reviewed the materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company's financial condition, including its liabilities and liquidity position,
the strategic alternatives available to it, and the impact of the foregoing on the Company's
business and operations;

        ~'VHEREAS, such Directors previously approved the form, terms and provisions of, and
the execution, delivery, and performance of, and, on February 11, 2018, the Company entered
into, that certain restructuring support agreement (as amended, restated supplemented or
otherwise modified from time to time in accordance with the terms thereof, the "RSA"), by and
among (i) the Company,(ii) ~'GT Operating Company, LLC:("~`Ul Upco"), (iii) the consenting
term lenders under that certain Term Laan Age°~~i~i~i~t, dated as of April 19, 2012, by and among
FGI Opco, as Borrower, FGI holding Company LLC, as Holdings, the guarantors and lenders
from time to time party thereto, and Bank of America, N.A., as Agent, and (iv) the consenting
holders of those certain 7.875% Senior Secured Notes due 2020 pursuant to that Indenture, dated
as of April 19, 2012, between FGI Opco and FGI Finance Inc., as Issuers, the guarantors named
therein, and Wilmington Trust, National Association, as Trustee and Collateral Agent;

        WHEREAS, such Directors have determined that, in furtherance of the RSA, it is
desirable and in the best interests of the Company and its respective creditors, equity holders,
employees and other parties-in-interest that the Company commence solicitation ("Solicitation")
of votes to obtain acceptances of the Joint Prepackaged Chapter 11 Plan of Remington Outdoor
Company, Inc. and its Affiliated Debtors and Debtors in Possession, dated March 22, 2018 (the
"Prepackaged Plan"); and                                  -

        ~6'I-~EREAS, such Directors have determined that, in furtherance of the Prepackaged
Plan, it is desirable and. in the best interests of the Company and its respective creditors, equity
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holders, employees, and other parties-in-interest that the Company file or cause to be filed a
voluntary petition(a "Voluntary Petition") for relief under the provisions of chapter 11 of title 11
of the United States Code (the "Bankruptcy Code").

                                            Solicitation

        BE IT RESOLVED that the Directors have determined that it is advisable and in the
best interests of the Company that the Company commence Solicitation;

       B~ IT FURTHER RESOLVED that the senior officers of the Company (together, the
"Authorized Officers"), be, and each of them hereby is, authorized, empowered and directed to
take any and all action and perform any and all further deeds that they deem necessary or proper
to commence Solicitation;

                                         Chapter 11 Case

        BE IT FURTHER RESOLVED that Directors have determined that it is advisable and
in the best interests of the Company that the Company file, or cause to be filed, a Voluntary
Petition commencing the Chapter 11 Case (as defined below);

       BE IT FURTHER RESOLVED that the Authorized Officers, be, and each of them
hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with the
bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and any other necessary papers or documents, including any amendments thereto, and
to take- any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the
Company (the "Chapter 11 Case"), with a view to the successful prosecution of such Chapter 11
Case;

                                 Debtor in Possession Financing

        ~~ IT FURTHER 1~ESULV~ll that, the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
(a)the "Term Sheet" attached as Exhibit A to that certain Commitment Letter, dated as of March
8, 2018, by and among FGI Opco and the lenders party thereto, and (b)that certain "$193 million
DIP and Exit ABL Revolver Summary of Indicative Principal Terms and Conditions", dated on
or about the date hereof, by and among FGI Opco and the lenders party thereto, in each case, in
substantially the form as presented to the Directors (the "DIP Credit Facilities"), and any related
documents or instruments, each on terms and conditions agreed to by the Company, the lender
and the agent and such other terms as are customary for similar debtor-in-possession facilities
and to cause the Company to grant a senior security interest in substantially all of its assets in
connection therewith, and to undertake any and all related transactions contemplated thereby;

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to, if
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the Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to
negotiate, execute, and deliver, and the Company is hereby authorized to perform its obligations
and take the actions contemplated under, the DIP Credit Facilities and such other documents,
agreements, guaranties, instrz2ments, financing statements, notices, undertakings, certificates, and
other writings as may be required by, contemplated by, or in furtherance of the DIP Credit
Facilities, eac1~ containing such provisions, terns, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate by the Authorized Officers, and any
amendments, restatements, amendments and restatements, supplements, or other modifications
thereto, in each case with such changes therein and additions thereto (substantial or otherwise) as
shall be deemed necessary, appropriate, or advisable by any Authorized Officer executing the
same in the name and on behalf of the Company, such approval to be evidenced conclusively by
such execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Company's assets as may
be contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of the Company in the Chapter 11 Case and any of the Company's affiliates who may
also, concurrently with the Company's petition, file for relief under the Bankruptcy Code;

        BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facilities to the Company and its affiliates;

                                      Retention of Advisors

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Milbank, Tweed,
Hadley & McCloy LLP as general bankruptcy c~i~nsel t~ represent and advise the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations, including filing any pleadings in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, the Authorized Officers are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Milbank, Tweed, Hadley & McCloy LLP;

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Pachulski, Stang, Ziehl &
Jones LLP as local counsel to represent and advise the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the


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filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Pachulski, Stang, Ziehl &Jones LLP;

        BE IT FLTRTHF.R RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Lazard Freres & Co. LLC
as investment banl~er t~ represent and assist the Company in carrying out its d2aties z~n~er the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Lazard Freres & Co. LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized,. empowered, anal directed. to employ the firm of Alvarez & Marsal North
America, LLC as financial advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations
in connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America,
LLC;

       BE IT FiTRTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Lowenstein Sandler
LLP as conflicts counsel to represent and advise the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations; and in
connection therewith, the Authorized Officers are hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon filing of the Chapter 11 Casc, and cause to be executed and filed ~n ~ppropri~te application
with the bankruptcy court for authority to retain the services of Lowenstein Sandler LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as
notice, claims, and balloting agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed and
filed an appropriate application with the bankruptcy court for authority to retain the services of
Prime Clerk LLC;

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ any other professionals, including
attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
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appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain
the services of any other professionals, as necessary;

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
prosecute the Chapter 11 Case in a manner that in their business judgment is likely to maximize
the recovery for stakeholders in the Company and minimize the obligations incurred by the
Company;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
cause the Company to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such officer shall be or become necessary, proper, and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

        BE IT FURTHER RESOLVED that Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions; and

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified.




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    Debtor name: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                                                                                                                         o Check if tE~is is an amended filing
    United States Bankruptcy Court for the: District of Delaware
    Case number (if known):


Official Form 204


Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Lamest Unsecured Claims and Are Not Insiders                                                                                                                                                                                                                                                                      12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claiirus by any person or
entity who is an insider, as defined in 31 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the 30 largest unsecured claims.i

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                                                                                          PENSION BENEFIT GUARANTY
             PENSION BENEFIT GUARANTY                                                     CORPORATION, OFFICE OF THE
             CORPORATION - OFFICE OF THE                                                  GENERAL COUNSEL
1            GENERAL COUNSEL                                                              PHONE: 202-326-4020 x4638                                                          Pension Liability                                           Contingent,                                                                                                                Undetermined
             1200 K STREET, N.W.                                                          FAX: 202-326-4112                                                                                                                              Unliquidated
             WASHINGTON, DC 20005-4026                                                    EMAIL:
                                                                                          Neureiter.KimberlvCa~obec.eov
             HE MARLIN FIREARMS                                                             HE MARLIN FIREARMS
                                                                                                                                                                                                                                                                                                                                                                                            Filed 03/25/18




             OMPANY EMPLOYEES'                                                             :OMPANY EMPLOYEES'
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             /O MASSMUTUAL                                                                 :/O MASSMUTUAL                                                                    Pension Liability                                                                                                                                                                      Undetermined
                                                                                                                                                                                                                                         Contingent,
             TTN: NANCY HOULE
                                                                                           'HONE: 800-309-353,                                                                                                                           Unliquidated
             .O. BOX 219035 MIP M227
                                                                                           2-2139
             ANSAS CITY, MO 64121-9035
                                                                                            AX: XXX-XX-XXXX


              CO-BAT INDIANA LLC                                                          ECO-BAT INDIANA LLC
                                                                                                                                                                                                                                                                                                                                                                                            Page 14 of 26




              TTN: MIKE PARKER, SALES                                                     ATI'N: MIKE PARKER,
              MANAGER PO BOX 846010                                                       SALES MANAGER                                                                                                                                                                                                                                                            $3,106,870.14
              DALLAS, TX 75284-6010                                                       PHONE: 214-582-0295
                                                                                          FAX:214-831-4013

                                                                                                    bat.uk@




1 This list does not include the agents for the Debtors' prepetition credit facilities or the indenture trustee for the Debtors' third lien notes as those entities' respective claims are secured by liens on
and/or security interests in the Debtors' assets.
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            ST MARKS POWDER             ST MARKS POWDER
            PO Box 643003               PHONE: 618-258-2000
4           PITTSBURGH, PA 15264-3003   FAX:                                                                                                                                               Trade                                                                                                                                                                                                                        $1,376,973.80
                                        EMAIL:
                                        stephen.faintich @gd-ots.co m
            THE DOE RUN COMPANY         THE  DOE RUN COMPANY
            ATfN: DEB MEDLEY            ANN: DEB MEDLEY
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 18-10684




5           75 REMITTANCE DRIVE, SUITE PHONE:314-453-7115                                                                                                                                  Trade                                                                                                                                                                                                                        $1,331,527.86
            2172 CHICAGO, IL 60675-2172 FAX: 314-453-7189
                                        EMAIL: ceo@doerun.com
            LUVATA KENOSHA INC          LUVATA   KENOSHA INC
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Doc 1




            ATTN: ANDREW STEVENS, MGR ATTN: ANDREW STEVENS, MGR
6           MKT DEV                     MKT DEV                                                                                                                                            Trade                                                                                                                                                                                                                            $928,021.49
            PO Box 200498               PHONE: 920-540-5970
            PITTSBURGH, PA 15251-0498   FAX: 920-749-3850
                                        EMAIL: andy.stevens@luvata.com
            GEODIS LOGISTICS LLC        GEODIS LOGISTICS LLC
            ATfN: VIVIAN HARRIS, A/R    ATTN: VIVIAN HARRIS, A/R
7           MANAGER                     MANAGER                                                                                                                                             Trade                                                                                                                                                                                                                           $895,514.30
            15604 COLLECTION CENTER     PHONE: 615-880-4865
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Filed 03/25/18




            DRIVE                       FAX: 615-377-3977
            CHICAGO, IL 60693           EMAIL: vharris@ohl.com
                                                                                                 ART GUILD INC
             RT GUILD INC
                                                                                                 ATTN: BERNADETTE SANDOf,IE,
             TTN: BERNADETTE SANDONE,
                                                                                                 AR MANAGER
8            R MANAGER                                                                                                         Marketing Services                                                                                                                                                                                                                                                                           $894,069.05
                                                                                                 PHONE: 856-853-7500
            300 WOLF DRIVE WEST
                                                                                                 FAX: 856-686-4184
            DEPTFORD, NJ 08086
                                                                                                 EMAIL:
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Page 15 of 26




                                                                                                 bsandone@artguildinc.com
           MICROBEST INC                                                                         MICROBEST INC
           670 CAPTAIN NEVILLE DR                                                                PHONE: 203-597-0355
9          WATERBURY, CT 06705                                                                   FAX: 203-597-0655             Trade                                                                                                                                                                                                                                                                                        $773,300.75
                                                                                                 EMAIL: maltberg@microbest.com




Official Form 204                                                                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                                                                                                                                     Page 2
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                                                                                                                            Case number (if known)

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   PMX INDUSTRIES INC CHICAGO                                                                PMX INDUSTRIES INC CHICAGO
    TfN: JOE TALLERICO                                                                       AnN:JOE TALLERICO
10 5300 WILLOW CREEK DR SW                                                                   PHONE: 319-298-1339                                                                    Trade                                                                                                                                                                                   $720,189.42
   CEDAR RAPIDS, IA 52404                                                                    FAX: 319-368-7721
                                                                                             EMAIL: joe.ta9lerico@ipmx.com
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   CORPORATION                                                                               ATTN: GRANTEE REDMOND
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                                                                                                                                                                                                                                                                                                                                                                                                    Case 18-10684




11 TTN: GRANTEE REDMOND                                                                                                                                                             Trade                                                                                                                                                                                   $645,476.66
   1408-C ROSENEATH ROAD                                                                     FAX: 804-217-9046
   RICHMOND, VA 23230                                                                        EMAIL:
                                                                                             bivollmer@stephengould.com
                                                                                                                                                                                                                                                                                                                                                                                                    Doc 1




                               PRIORITY PACKAGING WET'RJ
   PRIORITY PACKAGING WET'N    DRY LOBES INC.
12 DRY LOBES INC.                                            Trade                                                                                                                                                                                                                                                                                                          $563,002.51
   3260 INDUSTRY DRIVE, UNIT 5 PHONE: 843-936-1660
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                               EMAIL:
                               wwhjr@prioritypackaging.cori
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   ATTN: DOUG SMITH            ANN:  DOUG SMITH - OPER~`TION
                                                                                                                                                                                                                                                                                                                                                                                                    Filed 03/25/18




13 OPERATION MGR               MGR PHONE: 303-828-3460       Trade                                                                                                                                                                                                                                                                                                          $540,813.25
   PO BOX 664017               FAX: 303-828-3469
   DALLAS, TX 75266-4017       EMAIL: doug@magpul.com
   GENERAL DYNAMICS        GENERAL DYNAMICS
   ATTN: SUZIE TAILLEFER   ATTN: SUZIE TAILLEFER
14 55, RUE MASSON          PHONE: 450-377-7835                                                                                                                                      Trade                                                                                                                                                                                   $469,669.88
   VALLEYFIELD, OC 165 4VP FAX: 450-377-7800
   Canada                  EMAIL:
                                                                                                                                                                                                                                                                                                                                                                                                    Page 16 of 26




                           suzie.taillefer@ca n.gd-ots.com
   A M CASTLE & CO /CASTLE A M CASTLE & CO /CASTLE
   METALS                  METALS
15 11125 METROMONT PARKWAY PHONE: 847-349-3851                                                                                                                                      Trade                                                                                                                                                                                   $454,578.78
   CHARLOTTE, NC 28269     FAX: 716-748-7788
                           EMAIL: jkanuYe@amcastle.com




Official Form 204                                                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                                                                                     Page 3
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                                                                                                                                                                           Case number (if known)

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   OZARK DIE CASTING                                                                              OZARK DIE CASTING
   ATfN: GARY LAND 1005                                                                           ANN: GARY LAND
16 LOFTING IND DR                                                                                 PHONE: 636-629-4244                                                                        Trade                                                                                                                                                                                                                                       $441,319.08
   SAINT CLAIR, MO 63077                                                                          FAX: 636-629-2153
                                                                                                  EMAIL: ozarkdie@sbcglobaLnet
                                                                                                  NATIONWIDE PRECISION
   NATIONWIDE PRECISION                                                                           PRODUCTS CORP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case 18-10684




   PRODUCTS CORP                                                                                  Attn: Dan Nash -CEO
17 Attn: Dan Nash -CEO                                                                                                                                                                       Trade                                                                                                                                                                                                                                       $437,939.33
                                                                                                  PHONE: 224-419-6055
   PO BOX 842324
                                                                                                  FAX: 585-272-5982
   BOSTON, MA 02284-2384
                                                                                                  EMAIL:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Doc 1




                                                                                                  dan.nash@hnprecision.com
                                                                                                  BRUDERER MACHINERY INC
   BRUDERER MACHINERY INC                                                                         q~N: DONNA KOTERBA
   ATTN: DONNA KOTERBA
18 1200 HENDRICKS CAUSEWAY                                                                        PHONE: 201-941-2121                                                                         Trade                                                                                                                                                                                                                                      $432,592.50
   RIDGEFIELD, NJ 07657                                                                           FAX: 201-886-2010
                                                                                                  EMAIL:
                                                                                                  dkoterba@brudereramericas.com
   GERDAU MAC STEEL                                                                               GERDAU MAC STEEL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Filed 03/25/18




   ATTN: R A. MONTGOMERY                                                                          ATTN: R A. MONTGOMERY LORI
19 LORI STROKO                                                                                    STROKO                                                                                      Trade                                                                                                                                                                                                                                      $421,153.38
   25654 NETWORK PLACE                                                                            PHONE: 330-382-1084
   CHICAGO ,IL 60673                                                                              FAX: 517-782-8736
                                                                                                  EMAIL:
   PRECISIONMATICS CO INC                                                                         PRECISIONMATICS CO WC
   ATTN: CINDY                                                                                    ATTN: CINDY
20 675 US HIGHWAY 20 WEST                                                                         PHONE: 315-822-6324                                                                         Trade                                                                                                                                                                                                                                      $388,620.62
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Page 17 of 26




   WINFIELD, NY 13491                                                                             FAX: 315-822-6944
                                                                                                  EMAIL:
                                                                                                  cindyk@precisionmatics.com
   SWANSON MARTIN &BELL                                                                           SWANSON MARTIN &BELL
   ATTN: BRIAN W. BELL                                                                            ANN: BRIAN W. BEL!
21 330 NORTH WABASH AVE                                                                           PHONE: 312-321-9100                                                                         Legal Counsel                                                                                                                                                                                                                              $387,023.30
   STE 3300                                                                                       FAX: 312-321-0990
   CHICAGO, IL 60611                                                                              EMAIL: bbell@smbtrials.com

Official Form 204                                                                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                                                                                                                                        Page 4
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                                                                                                       Case number cif known)

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   DECIMET SALES INC            DECIMET SALES INC
   ATTN: BUTCH ANDERSON         AnN: BUTCH ANDERSON
2Z 14200 JAM E5 ROAD            PHONE: 763-428-4321           Trade                                                                                                                                                                                                                                                                                   $371,396.20
   ROGERS, MN 55374             FAX: 763-4Z8-8285
                                EMAIL: info@dsimn.com
   DANA SOTO, ET AL.            DANA SOTO, ET AL.
   C/O KOSKOFF KOSKOFF &        C/O KOSKOFF KOSKOFF & BIEDER,
                                                                                                                                                                                                                     Contingent,                                                                                                                     Undetermined
                                                                                                                                                                                                                                                                                                                                                                         Case 18-10684




23 BIEDER, P.C.                 P.C.                          Litigation
                                                                                                                                                                                                                     Unliquidated,
   ATTN: JOSHUA D. KOSKOFF      PHONE: 203-583-8634
                                                                                                                                                                                                                     Disputed
   350 FAIRFIELD AVENUE         FAX: 203-368-3244
   BRIDGEPORT, CT 06604         EMAIL:
   IAN POLLARD, ET AL.          IAN POLLARD, ET AL.
                                                                                                                                                                                                                                                                                                                                                                         Doc 1




   C/O BOLEN, ROBINSON & ELLIS, C/O BOLEN, ROBINSON & ELLIS,
                                                                                                                                                                                                                     Contingent,
   LLP                          LLP                           Litigation
24 ATTN: JON D. ROBINSON                                                                                                                                                                                             Unliquidated,                                                                                                                   Undetermined
                                PHONE: 217-429-4296
                                                                                                                                                                                                                     Disputed
   202 SOUTH FRANKLIN           FAX: 217-329-0034
   2ND FLOOR                    EMAIL:
   DECATUR, IL 62523            1ROBINSON@BRELAW.COM
   ROBERT ZICK                  ROBERT ZICK
   C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.
                                                                                                                                                                                                                                                                                                                                                                         Filed 03/25/18




                                                                                                                                                                                                                     Contingent,
   ATTN: TIMOTHY MONSEES        PHONE: 816-470-0013           Litigation
25 4717 GRAND AVENUE                                                                                                                                                                                                 Unliquidated,                                                                                                                   Undetermined
                                FAX: 816-361-5577
                                                                                                                                                                                                                     Disputed
    SUITE 820                                                                    EMAIL:
    KANSAS CITY, MO 64112
    JON BATTS                                                                    1O N BATi"S
    C/O RAD LAW FIRM, P.C.                                                       C/O RAD LAW FIRM, P.C.
                                                                                                                                                                                                                      Contingent,
    ATfN: ROBERT M. MEADOR                                                       PHONE: 972-661-1111                                                         Litigation                                                                                                                                                                              Undetermined
 26 80011B1 FREEWAY,SUITE 300                                                                                                                                                                                         Unliquidated,
                                                                                 FAX: 972-354-5651
                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                                                                                                                                                                                                         Page 18 of 26




    DALLAS, TX 75251                                                             EMAIL:
                                                                                 EFILERM@RADLAWFIRM.COM




 Official Form 204                                                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                                                                         Page 5
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                                                                                                                                                    Case number (if known)


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   SAMUELJOHNSON                 SAMUEL)OHNSON
   THE LAW OFFICE OF DANIEL D. THE LAW OFFICE OF DANIEL D.
                                                                                                                                                                                   Litigation
   GOROWITZ, 111, P.C.           GOROWITZ, III, P.C.
                                                                                                                                                                                                                                                     Contingent,                                                                                                                                        Undetermined
Z~ ATTN: DANIEL D. HOROWITZ      PHONE: 832-460-5181
                                                                                                                                                                                                                                                     Unliquidated,
   2100 TRAVIS STREET, SUITE 280 FAX: 832-266-1478
                                                                                                                                                                                                                                                     Disputed
   HOUSTON,TX 77002              EMAIL:
                                 DANIEL@DDHLAWERS.COM
                                                                                                                                                                                                                                                                                                                                                                                                                          Case 18-10684




   ANTHONY GARNETT               ANTHONY GARNETT
   C/O O'CONOR, MASON &        C/O O'CONOR, MASON &BONE,
   BONE, P.C.                  P.C.
                                                                                                                                                                                                                                                     Contingent,
28 ATfN:1ESS W. MASON, ROBERT PHONE: 713-647-7511
                                                                                                                                                                                   Litigation                                                        Unliquidated,                                                                                                                                      Undetermined
                                                                                                                                                                                                                                                                                                                                                                                                                          Doc 1




   D. O'CONOR & J. KEVIN RALEY FAX: 713-647-7512                                                                                                                                                                                                     Disputed
   1616 S. VOSS ST., SUITE 200 EMAIL:
   HOUSTON, TX 77057           JMASON@OMBTXLAW.COM;
                               BOCONOR@OMBTXLAW.COM;
                               KRALEY@OMBTXIAW.COM
   MICHELLE LEFEBRE            MICHELLE LEFEBRE                                                                                                                                                                                                      Contingent,
   LEONARD A. SIUDARA PC       LEONARD A. SIUDARA PC                                                                                                                                                                                                 Unliquidated,
29 ATTN: LEONARD A. SIUDARA    PHONE: 248-417-7300                                                                                                                                  Litigation                                                                                                                                                                                                          Undetermined
                                                                                                                                                                                                                                                     Disputed
   5865 ANDOVER CT             FAX: 248-641-8141
                                                                                                                                                                                                                                                                                                                                                                                                                          Filed 03/25/18




   TROY, MI 48098              EMAIL: BUDATLAW@MSN.COM
   PRECIOUS SEGUIN             PRECIOUS SEGUIN
   C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.                                                                                                                                                                                                                                                                                                                                                  Undetermined
                                                                                                                                                                                                                                                     Contingent,
30 ATTN: TIMOTHY MONSEES       PHONE: 816-470-0013                                                                                                                                  Litigation
                                                                                                                                                                                                                                                     Unliquidated,
   4717 GRAND AVENUE           FAX: 816-361-5577
                                                                                                                                                                                                                                                     Disputed
   SUITE 820                   EMAIL:
   KANSAS CITY, MO 64112
                                                                                                                                                                                                                                                                                                                                                                                                                          Page 19 of 26




 Official Form 204                                                                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                                                                                                              Page 6
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FAR ~'HE DIS'I'RIC"I' OF DELA~A.~E

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In re:                                                               Chapter 11

REMINGTON OUTDOOR COMPANY,INC.                                       Case No. 18-             (~




         Debtor.


                             CERTIFICATION OF CREDITOR MATRIX

                Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for• the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
and its affiliated debtors in possession (collectively, the "Debtors")1 hereby certify that the
CreditoN Matrix submitted herewith contains the names and addresses of the Debtors' creditors.
To the best of the Debtors' knowledge, the CNeditoN Matrix is complete, correct, and consistent
with the Debtors' books and records.

               The information contained herein is based upon a review of the Debtors' books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the CNeditoN MatNzx
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims;(2) an acknowledgement cif the allc~wahility of
any listed claims; and/or(3)a waiver of any other right or-legal position of the Debtors.




 ~ The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc.(4491); FGI Holding Company, LLC(9899); FGI
Operating Company, LLC(9774); Remington Arms Cpmpany, LLC (0935); Barnes Bullets, LLC(8510); TMRI,
Inc.(3522); RA Brands, L.L.C.(1477); FGI Finance, Inc.(0109); Remington Arms Distribution Company,LLC
(4655); Huntsville Holdings LLC(3525); 32E Productions, LLC(2381); Great Outdoors Holdco, LLC(7744); and
Outdoor Services, LLC (2405). The principal offices of Debtor Remington Outdoor Company Inc., the top-level
holding company, are located at 870 Remington Drive, Madison, NC 27025.
                   Case 18-10684           Doc 1     Filed 03/25/18       Page 21 of 26




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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In re:                                                          Chapter 11

REMINGTON OUTDOOR COMPANY,INC.,                                 Case No. 18-            (_)

                                     Debtor.

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                            CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.


                          I3e~~tQr                 ~—                 llir~ct ~r~~n~~~~~}

                                                                     R2 Holdings, LLC
         Remington Outdoor Company,Inc.                         875 Third Avenue, 14th Floor
                                                                   New York, NY 10022
                   Case 18-10684              Doc 1        Filed 03/25/18      Page 22 of 26




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

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In re:                                                              Chapter 11

REMINGTON OUTDOOR COMPANY,INC.,                                     Case No. 18-

                                    Debtor.

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                             LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.



                      I"~'Ear~~e cif ~;t~uit~~ 1~olclez•      A~lcir~~s ofEc~uit~ HoIc~er~

                      R2 Holdings, LLC                     875 Third Avenue, 14`' Floor
                                                           New York, NY 10022
                       Anthony Aeitelli                    13410 Pineview Count
                                                           Dayton, MN 55327
                       Melissa Anderson                    6012 Oakmont Court
                                                           Kernersville, NC 27284
                       Bill T3arrett                       1 70 Taylo~'sville M~c~d~nia Read
                                                           Taylorsville, GA 30178
                       Scott Blackwell                     310 Big Pine Lane
                                                           Punta Gorda, FL 33955
                       John Blystone                       3220 Seven Eagles Road
                                                           Charlotte, NC 28210
                       Bobby Brown                         3882 Louise Court
                                                           Tyler, TX 75709
                       Bret Mazzei                         2509 Berkley Place
                                                           Greensboro, NC 27403
                       Jay Bunting                         6002 Lomond Drive
                                                           Summerfield,NC 27358
                       Emile Buzaid                        5005 Tolt Road Court
                                                           Thompson's Station, TN 37179
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  Jim Campbell                   1905 Egmont Ridge Way
                                 Louisville, KY 40245
  Michael Carns                  966 Coral Drive
                                 Pebble Beach, CA 93953
  Ginger Chandler                700 Dorothy Ford Lane
                                 Apt 498
                                 Huntsville, AL 35801

  Greg Christensen               P.O. Box 332
                                 Fairview, UT 84629
  Melissa Cofield                2115 Yeaman Place
                                 #402
                                 Nashville, TN 37206

  Tara Copas                     13010 Camelot Dr. SE
                                 Huntsville, AL 35803
  Jordan Davis                   46 Summerlyn Way
                                 Gurley, AL 35748
  Keith Enlow                    1801 Springberry Ct.
                                 Greensboro, NC 27358
  John Fink                      54 Summerlyn Way SE
                                 Gurley, AL 35748
  Jesus Gomez                    1.12 Autumn Ashe Rd.
                                 Madison, AL 35756
  Chris Gray                     10 SE 78th Ave.
                                 Portland, OR 97215
  Gen. Mike Hagee                1 U 11 Homestead llrive
                                 Fredricksburg, TX 78624
  Kris Hallan                    2402 Lakewood Circle
                                 Cabot, AR 72023
  James Halley                   31 Majestic Valley Drive
                                  Conway, AR 72032
  Andrew Haskin                  227 Watterson Way
                                 IVladison, AL 35756
  Steve Jackson                  500 James Doak Fkwy.
                                 Greensboro, NC 27455
  Shane Janssen                  12772 Alamo St. NE
                                 Baline, MN 55449
  Gen. George Joulwan            2107 S. Arlington Ridge Road
                                 Arlington, VA 22202
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  Mike Keeney                        6371 Salt River Road
                                     Rineyville, KY 40162
  Richard Kilts                      16 Deertract Loop
                                     Stoneville, NC 27048
  Ron Kolka                          5757 Lochmoor Ct.
                                     Rochester, MI 48306
  George Kollitides                  34 Green Meadow Lane
                                     New Canaan, CT 06902
  Jason Lindell                      594 Tillie Scott Court
                                     Greensboro, NC 27455
  Kyle Luke                          6520 College Hill Road
                                     Vernon Center, NY 13477
  Jim 1Vlarcotuli                    913 Westminister Way
                                     Southlake, TX 76092
  Rob McCanna                        8702 Bromfield Road
                                     Oak Ridge, NC 27310
  Walter McLallen                    Tomahawk Strategic Solutions
                                     1225 17th Ave.
                                     Nashville, TN 37212

  Jim Menefee                        24 Elm Ridge Blvd., SW
                                     Huntsville, AL 35824
  Leland Nichols                     26 Joshua Drive West
                                     Simsbury, CT 06092
  Matt Ohlsen                        12 Legacy Oaks Pl SE
                                     Gurley, AL 3578
  Jim Pike                           27201 Ibis Cove Ctl
                                     Bonita Springs, FL 34134
  Mike Pratico                       2935 Hampton Cove Way SE
                                     Owens Cross Roads, AL 35763
  Darin Presnell                     P.O. Box 2401
                                     Davidson, NC 28036
   Mark Primm                        1904 Osterville Ct.
                                     Whitsett, NC 27377
  R2 Holdings, LLC                   875 Third Avenue, 14th Floor
                                     New York, NY 10022
   Todd Ruff                         1239 Nasturtium Dr.
                                     Billings, MT 59105
   Troi Sachse                       3006 Laurel Cove Way SE
                                     Gurley, AL 35748
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  j`{                                     ~CtU ~~SS ~1 .E'.~i[iFY ~~Vlt~~i




  Terry Savage (Frank A.)              138 Grandview Ave.
                                       Rye,NY 10580
  Robert Schlagel                      8508 34th Ave. North
                                       New Hope, MN 55427
  Charles Schlelmilch                  7717 Whitaker Drive
                                       Summerfield, NC 27358
  Robert Skinner•                      P.O. Box 4627
                                       Utica, NY 13504
  Jonathon Sprole                      7220 Ridge Way
                                       Park City, UT 84098
  Darin Stafford                       2001 Viscount Dr.
                                       Matthews, NC 28104
  Peter Tolmei                         18 Meadowbrook Dr.
                                       New Hartford, NY 13413
  Jeremy Whitaker                      902 Drake Ave., SE
                                       Huntsville, AL 35802
  Larry C. White (Chris)               5400 Chenonceau Blvd.
                                       Little Rock, AR 72223
  George Zahringer III                 50 East 77th St.
                                       Apt. 9A
                                       New York, NY 10075
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   oehrof ~~ma Remington_t7utdoor Company, Inc
                                           a
   Unitod States Bankruptcy Court fpr Cne:                             District of    Delaware
                                                                                     {Slate)   ~-
   base +YurOb6( {J(krp rn}t




 Offieia( Farm 202

 An individual wha is authorised to act on behalf of anon-individual debtor,such as a corporation or partnership, must sign and submit
 this farn~ for the schedules of assets and liabilities, any other document that requires a declaration that is nat included in the document,
 and any amendments of those documents. This 6orm must state. the individuaPs position or relationship to the debtor, the identity of the
 document, and the date. Bankruptcy Rues 1008 and 9011.

 WARNING —Bankruptcy fraud is a seripus crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a ksankruptcy case can result in fines up to $500,000 or imprisonment fior up to 20 years, or both, 18 U.S.C. §§ 152, 7341,
 'I519, and 3571.



              Declaration and signature



          4 am the president another o~cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

            have examined the information in the documents checked below and I have a reasonatafe belief that the information is #rue anc! correct:


                 Schedule A/F3: Assets—Real and Personal Property (Official Form 2Q6A/6)

          ❑      Schedule D: Creditors Who Have Claims Secured by Property (O(ficiai norm 206D)

         0 Schedule E'/F: Creditors Who Nave Unsecured Claims (Official Form 20nELF)

          ❑     Schedule G: Executon,~ Contracts and Unexpired Leases {Official Form 206G)

         0 Schedule H; Codebtors (Official Form 20BM)

          Q Summary.p(Assots and Liabilities foi Non-lndividua(s (official Farm 2Q6Sum?

                Amende8 Schedule _._ _

                Chapter 11 ar Chapter 8 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Az-e Not insiders(O(ficial Form
                 204)
          G~ Other document that requires a declaration       List of Equ~ Seeurit Holders, Corporate Ownership Statement,
                                                              Certification of Creditor Matrix


           declare under penalty of perjury that the foregoing. is true ar~d correct.


         Executed on lJ~,_~~C~                                            _  ~_              -~__
                     MM t DO / YY Y                               Sic~nalure o! individual signing pn behalf of d    r


                                                                  Stephen P. Jackson, Jr.
                                                                  Printed name

                                                                   Chiefi Financial Officer
                                                                  Position or relationship to debtor


Official Form 202                            Declaration Undor Penalty of Perjury for Nort-individual Debtors
